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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

 ENOVATE MEDICAL, LLC,

        Plaintiff,

        v.                                           Civil Action No. 1:18-cv-10296-RGS

 DEFINITIVE TECHNOLOGY GROUP, LLC,

        Defendant.

                            DTG’S AMENDED COUNTERCLAIM

       Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Definitive Technology Group,

LLC (“DTG”) asserts the following Amended Counterclaim against Enovate Medical, LLC

(“Enovate”):

                                           The Parties

       1.       DTG is a is a limited liability company organized and existing under the laws of

the Commonwealth of Massachusetts, having a principal place of business at 301 Edgewater Place,

Wakefield, Massachusetts 01880.

       2.       Enovate purports to be a corporation organized and existing under the laws of the

State of Delaware, having its principal place of business at 1152 Park Avenue, Murfreesboro,

Tennessee 37129.

                                     Jurisdiction and Venue

       3.       This is a Counterclaim for Declaratory Relief for which this Court has jurisdiction

under Title 35 of the United States Code, as well as under 28 U.S.C. §§ 1331, 1332, 1338, 2201,

and 2202.

       4.       This Court has personal jurisdiction over Enovate by virtue of the Complaint

Enovate filed in this Court and Enovate’s significant contacts with this forum.
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       5.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b)–(c) and 1400(b).

                                       Factual Background

       6.       On February 16, 2018, Enovate filed the current lawsuit against DTG in which

Enovate asserts that DTG has infringed U.S. Patent No. 7,782,607 (the “’607 Patent”).

       7.       DTG denies Enovate’s allegations of infringement. Consequently, there is an actual

case or controversy between the parties over the non-infringement of the ’607 Patent.

       8.       The ’607 Patent is titled “Mobile Workstation Having Power System with

Removable Battery Configured for Drop-in Engagement therewith.” In its Complaint, Enovate

asserts allegations of direct, induced, and contributory infringement of Claims 1, 2, 12, 13, and 14

of the ’607 Patent.

       9.       Claims 1 and 12 are independent claims, while Claim 2 is dependent on Claim 1

and Claims 13 and 14 are dependent on Claim 12. Each of these claims include required elements,

including but not limited to the elements outlined herein, that are not present in the battery systems

distributed by DTG.

       10.      Claims 1 and 2 are apparatus (mobile workstation) claims and require that a mobile

workstation be comprised of a “removable battery assembly [that] includes a charge state and a

discharge state, the removable battery assembly being in the discharge state whenever docked with

the battery docking station.” (Emphasis added).

       11.      Claims 12, 13, and 14 are method claims and require the following step:

                [P]owering the computerized device of the mobile workstation with
                a removable battery assembly docked with a battery docking station
                of a power system resident on the mobile workstation, including
                discharging a battery of the removable battery assembly whenever
                the removable battery assembly is docked with the battery docking
                station and the power system is on.

(Emphasis added.)



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       12.     Claims 12, 13, and 14 also require the following step:

               [D]ocking a substitute battery assembly with the battery docking
               station, including engaging the Substitute battery assembly in a
               guide defined by a holster of the battery docking station at a location
               between the wheeled base and the computerized device, including
               discharging a battery of the Substitute battery assembly whenever
               the substitute battery assembly is docked with the docking station
               and the power system is on.

(Emphasis added.)

       13.     Based on this unambiguous language from each of the asserted claims, in order for

a mobile workstation to infringe the ‘607 Patent, it must have a removable battery that is always

in the discharge state whenever it is docked with the mobile workstation.

       14.     This fact is made more evident by the prosecution history of the application that

ultimately resulted in the ’607 Patent. During prosecution, the applicants specifically and clearly

argued that workstations that can receive power from wall outlets are outside of the scope of what

is claimed in the application that ultimately issued as the ’607 Patent.

       15.     DTG is in the business of designing and distributing battery systems for mobile

workstations (the “DTG Battery System”) and workstations equipped with the DTG Battery

Systems, as well as refurbishing and retrofitting workstations with the DTG Battery System.

       16.     A key feature of the DTG Battery System is that a removable battery can be charged

while the battery is docked with the DTG Battery System’s controller.

       17.     This key component of the DTG Battery System takes it outside of the claims of

the ‘607 Patent - on a workstation outfitted with a DTG Battery System, the removable battery

may either be in a charging state or a discharging state.

           Count I - Declaratory Judgment of Non-Infringement of the ’607 Patent

       18.     DTG restates and incorporates by reference its allegations in Paragraphs 1 through

16 of its Counterclaim as if fully set forth herein.


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       19.      An actual case or controversy exists between DTG and Enovate as to whether or

not the ’607 Patent is infringed by DTG.

       20.      DTG does not infringe, and has not infringed the ’607 Patent pursuant to 35 U.S.C.

§271, literally or under the doctrine of equivalents, by making, using, selling or offering to sell

workstations equipped with the DTG Battery System.

       21.      DTG is entitled to a judgment declaring that it does not infringe, and has not

infringed, the ’607 Patent by making, using, selling or offering to sell workstations equipped with

the DTG Battery System, either literally or under the doctrine of equivalents.

                                         Exceptional Case

       22.      On information and belief, this is an exceptional case entitling DTG to an award of

its attorneys’ fees incurred in connection with defending and prosecuting this action pursuant to

35 U.S.C. § 285, as a result of, inter alia, Enovate’s assertion of the ’607 Patent against DTG with

the knowledge that DTG does not infringe any valid or enforceable claim of the ’607 Patent.

                                          Prayer for Relief

      WHEREFORE, DTG prays for judgment as follows:

       a.       A judgment in favor of DTG denying Enovate all relief requested in its Complaint

                in this Action and dismissing Enovate’s Complaint with prejudice;

       b.       A judgment in favor of DTG on its Counterclaim;

       c.       A declaration that DTG has not infringed, contributed to the infringement of, or

                induced others to infringe, either directly or indirectly, any valid claims of the ’607

                Patent;




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        d.       A declaration that this case is exceptional under 35 U.S.C. § 285 and an award to

                 DTG of its reasonable costs and expenses of litigation, including attorneys’ fees

                 and expert witness fees; and

        e.       Such other and further relief as this Court deems just and proper.

                                       Demand for Jury Trial

        In accordance with Rule 38 of the Federal Rules of Civil Procedure, DTG respectfully

demands a jury trial of all issues triable to a jury in this action.

Dated: April 13, 2018                           Respectfully submitted,

                                                DEFINITIVE TECHNOLOGY GROUP, LLC

                                                By and through its attorneys,

                                                /s/ Bradley M. Stohry
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                                  CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.

                                                         /s/ Bradley M. Stohry



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